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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

THE NEW GEORGIA PROJECT,                    )
BLACK VOTERS MATTER FUND,                   )
and RISE, INC.,                             )
                                            )
       Plaintiffs,                          ) CIVIL ACTION NO.
                                            ) 1:21-cv-01229-JPB
v.                                          )
                                            )
BRAD RAFFENSPERGER, in his                  )
official capacity as Georgia Secretary of   )
State, REBECCA SULLIVAN, in her             )
official capacity as Vice Chair of the      )
Georgia State Election Board; DAVID         )
WORLEY, in his official capacity as a       )
member of the Georgia State Election        )
Board; MATTHEW MASHBURN, in                 )
his official capacity as a member of the    )
Georgia State Election Board; and ANH       )
LE, in her official capacity as a member    )
of the Georgia State Election Board,        )
                                            )
       Defendants.                          )

                         NOTICE OF APPEARANCE

      COMES NOW Charlene S. McGowan, Assistant Attorney General, and

hereby makes an entry of appearance in the above-styled action on behalf of

Defendants Brad Raffensperger, Georgia Secretary of State; Rebecca Sullivan, Vice

Chair of the Georgia State Election Board; and State Election Board members, David


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Worley, Matthew Mashburn, and Anh Le. Please direct all further pleadings, notices,

orders, and other matters to her at the following:

                   Office of the Attorney General
                   40 Capitol Square, SW
                   Atlanta, Georgia 30334
                   Telephone: (404) 458-3658
                   E-Mail: cmcgowan@law.ga.gov


      Respectfully submitted, this 8th day of April, 2021.


                                       /s/ Charlene S. McGowan
                                       CHARLENE S. MCGOWAN 697316
                                       Assistant Attorney General

                                       Office of the Georgia Attorney General
                                       40 Capitol Square SW
                                       Atlanta, GA 30334
                                       cmcgowan@law.ga.gov
                                       Tel: 404-458-3658
                                       Fax: 404-651-9325

                                       Counsel for Defendants




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing has been formatted using Times New

Roman font in 14-point type in compliance with Local Rule 7.1(D).

                                     /s/Charlene S. McGowan
                                     Charlene S. McGowan
                                     Assistant Attorney General




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing NOTICE

OF APPEARANCE with the Clerk of Court using the CM/ECF system, which will

send notification of such filing to counsel for the parties of record via electronic

notification.

      Dated: April 8, 2021.

                                      /s/ Charlene S. McGowan
                                      Charlene S. McGowan
                                      Assistant Attorney General




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